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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                               CASE NO. 22-cr-20508-PCH/Becerra-4


  UNITED STATES OF AMERICA,

  v.

  ANTONIO CANALES CABRERA,

        Defendant.
  _____________________________________/

       ORDER ADOPTING AND AFFIRMING R&R AND ADJUDICATING DEFENDANT
                                 GUILTY

         THIS MATTER came before the Court upon Magistrate Judge Jacqueline Becerra’s

  Report and Recommendation (“R&R”) on Change of Plea [ECF No. 88], which was entered on

  March 1, 2023. In the R&R, Judge Becerra found that the Defendant Antonio Canales Cabrera

  freely and voluntarily entered a plea of guilty as to Count I of the Superseding Indictment, which

  charges Defendant with conspiracy to possess with intent to distribute a controlled substance, in

  violation of Title 21, United States Code, Section 846.

         Magistrate Judge Becerra recommends that this Court accept Defendant’s guilty plea, that

  Defendant be adjudicated guilty of Count I, and that a sentencing hearing be conducted for final

  disposition of this matter. The Court has reviewed Judge Becerra’s R&R, no objections have been

  filed, and the Court has been advised that no objections will be filed. Therefore, based on a de

  novo review of the evidence presented, it is hereby

         ORDERED AND ADJUDGED that (1) Magistrate Judge Becerra’s R&R on Change of

  Plea is ADOPTED and AFFIRMED in its entirety; (2) the Court accepts Defendant’s plea of

  guilty, and Defendant is hereby adjudged guilty as to Count I of the Superseding Indictment; and
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  (3) a sentencing hearing before the Honorable Paul C. Huck is set for Monday, April 24, 2023, at

  2:00 PM.

         DONE AND ORDERED in Miami, Florida on March 3, 2023.




                                                     PAUL C. HUCK
                                                     UNITED STATES DISTRICT JUDGE

  Copies provided to:
  Magistrate Judge Jacqueline Becerra
  Counsel of record
